                         IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLORADO
                               JUDGE R. BROOKE JACKSON


Civil Action:           15-cv-00992-RBJ                   Date: August 27, 2018
Courtroom Deputy:       Julie Dynes                       Court Reporter: Sarah Mitchell

              Parties                                                 Counsel

AHMAD AJAJ                                                      Nicole B. Godfrey
                                                               Laurathme L. Rovner
                        Plaintiff

v.

FEDERAL BUREAU OF PRISONS                                        Lauren M. Dickey
                                                                   Clay C. Cook
                                                                  Marcy E. Cook
                                                                 Devin T. Traskos
                        Defendant


                                    COURTROOM MINUTES


BENCH TRIAL DAY ONE

Court in Session: 9:00 a.m.

Appearance of counsel. Student attorneys Michael Bishop, Rachel Kennedy and Elizabeth
Othmer present on behalf of the plaintiff.

ORDERED: All stipulated exhibits are ADMITTED. Request for witness sequestration is
         GRANTED.

9:03 a.m.     Opening statement by Mr. Bishop.

9:13 a.m.     Opening statement by Ms. Dickey.

9:43 a.m.     Rebuttal opening statement by Mr. Bishop.

Defense witness, Warden Jeffrey Krueger, called and sworn.
9:53 a.m.      Direct examination of Warden Krueger by Mr. Traskos.

10:12 a.m.     Cross examination of Warden Krueger by Ms. Kennedy.

10:18 a.m.     Examination of Warden Krueger by the Court.

10:24 a.m.     Redirect examination of Warden Krueger by Mr. Traskos.

10:25 a.m.     Recross examination of Warden Krueger by Ms. Kennedy.

10:29 a.m.     Court in recess.
10:45 a.m.     Court in session.

Plaintiff’s witness, Seth Ward, PhD., called and sworn.

10:47 a.m.     Direct examination of Dr. Ward by Mr. Bishop.

11:34 a.m.     Cross examination of Dr. Ward by Mr. Traskos.

11:47 a.m.     Redirect examination of Dr. Ward by Mr. Bishop.

11:56 a.m.     Court in recess.
1:01 p.m.      Court in session.

Plaintiff’s witness, Ismail Oliver, called and sworn.

1:04 p.m.      Direct examination of Mr. Oliver by Mr. Bishop.

1:20 p.m.      Cross examination of Mr. Oliver by Mr. Traskos.

1:34 p.m.      Redirect examination of Mr. Oliver by Mr. Bishop.

Plaintiff’s witness, Chaplain Michael Castle, called and sworn.

1:42 p.m.      Direct examination of Chaplain Castle by Ms. Kennedy.

2:01 p.m.      Cross examination of Chaplain Castle by Mr. Traskos.

2:42 p.m.      Redirect examination of Chaplain Castle by Ms. Kennedy.

2:57 p.m.      Examination of Chaplain Castle by the Court.

3:06 p.m.      Court in recess.
3:21 p.m.      Court in session.
Plaintiff’s witness, Raheem Hankerson, called and sworn.

3:30 p.m.     Direct examination of Mr. Hankerson by Ms. Othmer.

Plaintiff’s witness, Ahmad Ajaj, called and sworn.

3:40 p.m.     Direct examination of Mr. Ajaj by Ms. Kennedy.

Technical issues to be addressed.

3:44 p.m.     Court in recess.
3:52 p.m.     Court in session.

3:53 p.m.     Continued direct examination of Mr. Ajaj by Ms. Kennedy.

Technical issues to be addressed.

4:01 p.m.     Court in recess.
4:11 p.m.     Court in session.

4:11 p.m.     Direct examination of Mr. Ajaj by Ms. Kennedy.

Court in Recess: 5:00 p.m.           Hearing concluded.        Total time in Court: 06:06
